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Attorney for Plaintiff,

                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO




 THOMAS E. WELSH
                                                       Case No. 1:18-CV-455-REB
                                 Plaintiff,
                                                       SECOND AMENDED
                                                       COMPLAINT AND DEMAND
 v.
                                                       FOR JURY TRIAL
 UNITED STATES OF AMERICA; and
 DOES I-X

                                Defendants.

        COMES NOW Plaintiff, Thomas Welsh, by and through his attorney of record,

Randall L. Schmitz, Skaug Law, P.C. and for cause of action against the above-named

Defendants, complains and alleges as follows.

                       PARTIES, JURISDICTION, AND VENUE

1.      This is a case of medical negligence brought by Plaintiff Thomas E. Welsh

(hereinafter “Welsh” or “Plaintiff”). At the time of the conduct alleged herein, and at all

times thereafter, Welsh was a resident of McCall, Idaho, and had been honorably

discharged from active military service.

2.      Defendant United States of America is sued under the Federal Tort Claims Act, 28

U.S.C. §§ 2671, et. seq., as the representative defendant and real party in interest for the



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Boise VA Medical Center of the United States Department of Veterans Affairs and those

employed by it to provide healthcare services at said facility. This action involves a claim

against the United States, for money damages, for personal injury caused by the negligent

and/or wrongful acts or omissions by employees of the government while acting within the

scope of their office or employment. Under the laws of the State of Idaho, said healthcare

providers would otherwise be liable to the Plaintiff for the medical negligence alleged

herein. Federal jurisdiction is therefore proper pursuant to 28 U.S.C. § 1346(b)(1). The

location of the conduct alleged is the Boise VA Medical Center in Boise, Idaho, hence

venue is proper here pursuant to 28 U.S.C. § 1391 and 28 U.S.C. § 1402(b). The amount

in controversy, exclusive of interest and costs, exceeds $75,000.

3.      The individuals employed to provide healthcare services at the Boise VA Medical

Center, whose conduct failed to meet the applicable standards of care as to the treatment

rendered to Plaintiff Welsh, and who are covered employees under the Federal Tort Claims

Act for purposes of this case, are identified as follows, without limitation:

        a.      Dr. Mark Baradziej, and

        b.      Dr. Jeffery Dingman

4.      Plaintiff Welsh is ignorant of the true names and capacities of the Defendants sued

herein as Does I through X, inclusive, and therefore sue those Defendants by such fictitious

names. Plaintiff Welsh is informed and believes, and on that basis alleges, that the

Defendants sued herein as Does I through X are in some manner legally culpable for the

injuries and damages suffered by the Plaintiff. Plaintiff Welsh will amend this Complaint

to allege their true names and capacities when ascertained.

5.      Plaintiff Welsh timely presented this claim in writing to the appropriate United

States Department of Veterans Affairs claims office. The United States Department of



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Veteran Affairs, by and through its Office of Chief Counsel, denied this claim on April 18,

2018, thus this lawsuit is appropriate pursuant to 28 U.S.C. §§ 1346(b) and 2671-2680, et

seq.

6.      Plaintiff Welsh also timely presented this claim to the Idaho Board of Medicine for

a prelitigation screening panel pursuant to I.C. §§ 6-1001, et seq., thus all conditions

precedent to filing a medical negligence claim under Idaho law have been satisfied. The

hearing was held on February 4, 2019, and a Report and Recommendation was issued on

February 8, 2019.

                               FACTUAL ALLEGATIONS

7.      Plaintiff Welsh reasserts the allegations contained in the previous paragraphs as if

set forth in full herein.

8.      In early February 2016, Plaintiff Welsh began experiencing stomach pains. He

contacted the VA which authorized him to seek treatment at St. Luke’s McCall Medical

Center (“St. Luke’s McCall”) under the Veterans Choice Program.

9.      Plaintiff Welsh presented to St. Luke’s on February 9, 2016, complaining of

epigastric abdominal pain that radiated into his back. He was seen by Jessica Smith, P.A.

Mr. Welsh had a remote history of gastric ulcers and reported that the pain was similar. He

used Pepto-Bismol for short term relief and reported having melena prior to using the

Pepto-Bismol. P.A. Smith diagnosed him with an acute gastric ulcer and prescribed

Carafate tablets and Prilosec. She also ordered a Helicobacter Pylori lab and recommended

he have an EGD/colonoscopy in the next three months.

10.     Plaintiff Welsh continued to experience stomach pain and returned to St. Luke’s

McCall on February 23, 2016. He was again seen by P.A. Smith. The pain was causing




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him to lose sleep. The Helicobacter Pylori test was positive. P.A. Smith diagnosed him

with an H. Pylori infection and an ulcer. He was prescribed a triple therapy program.

11.     However, on February 29, 2016, Plaintiff Welsh returned to St. Luke’s McCall

because his stomach pain was getting worse. He was seen by Dr. Patrick O. Kinney. Dr.

Kinney noted Plaintiff Welsh’s history of DVTs. He had more than 20 prior DVTs, the last

one being March 2015. Dr. Kinney also noted that Plaintiff Welsh stopped taking Warfarin

because he had a difficult time with titration. Dr. Kinney further indicated that Plaintiff

Welsh had a genetic thrombotic predilection and a high risk of recurrent clotting. Dr.

Kinney thought it was unusual for Mr. Welsh to be having so much pain a week into

treatment. He concluded there was no evidence of a bleeding ulcer. Dr. Kinney tried to get

VA approval for a CT scan of the abdomen but, later informed Plaintiff Welsh that the CT

request was denied.

12.     Plaintiff Welsh returned yet again to St. Luke’s McCall on March 4, 2016,

complaining of black tarry stools with cramping and crushing pain. He had not eaten much

for three days and began vomiting the night before. He had lost seventeen pounds in the

last three and a half weeks. St. Luke’s McCall recommended he go to the emergency

department. Since his only medical coverage was through the VA Veterans Choice

Program, Plaintiff Welsh had his son drive him to the Boise VA Medical Center’s (“Boise

VA”) emergency department.

13.     At the Boise VA, Plaintiff Welsh reported that the ulcer was “killing” him. His pain

was “crushing” and constant. Plaintiff Welsh was seen by Dr. Scott Lossman. Dr. Lossman

noted that Plaintiff Welsh had “ulcer” symptoms for three weeks, had been treated at St.

Luke’s McCall and recently started H Pylori treatment which initially improved his pain,

however, yesterday he vomited and had been nauseous all day. He was not eating or



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drinking. Plaintiff Welsh’s past history was significant for DVTs of the lower extremities,

long-term use of anticoagulants which he had discontinued, primary hypercoagulable state,

and nevous thrombosis NEC. Dr. Lossman ordered a CT scan of the abdomen and pelvis.

14.     The CT was performed on March 4, 2016, and read by Defendant Dr. Yang at the

VHA National Teleradiology Program in Menlo Park, CA. Defendant Dr. Yang reported

that “The gallbladder is unremarkable with no evidence of stones, pericholecystic fluid, or

gallbladder wall thickening.” He also noted “Atherosclerosis of the abdominal aorta and

its branches is…” This sentence was left unfinished in the report.

15.     Dr. Lossman concluded there was no surgical finding and enteritis was likely.

Plaintiff Welsh was discharged on the same medication regimen previously prescribed.

16.     Three days later, on March 7, 2016, Plaintiff Welsh returned to the Boise VA clinic

complaining of 8 out of 10 pain across his abdomen and nausea. Eating increased his pain

and nausea, and he was losing more weight. They referred him back to the emergency

department.

17.     In the Boise VA emergency department, Plaintiff Welsh was seen by Dr. Jeffrey

Dingman. Dr. Dingman reviewed Plaintiff’s history. Plaintiff Welsh had been seen at St.

Luke’s McCall for abdominal pain and started on a course of H Pylori treatment but, his

pain was getting worse. Plaintiff Welsh also had an elevated white blood cell count and a

CT scan that showed enteritis. Plaintiff Welsh’s history was significant for DVTs of the

lower extremities, long-term use of anti-coagulants, primary hypercoagulable state, and

venous thrombosis NEC. Dr. Dingman’s differential diagnosis included “continued

enteritis, peptic ulcer, cholelithiasis, cholecystitis, and pancreatitis.”

18.     Dr. Dingman’s differential diagnosis did not include an occlusion or thrombosis.




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19.     Dr. Dingman’s failure to consider an occlusion or thrombosis in his differential

diagnosis was a breach of the applicable standard of healthcare practice.

20.     On March 8, 2016, Plaintiff Welsh underwent an ultrasound of his abdomen. The

radiologist’s impression was “Multiple sludge without cholecystitis.”

21.     After the ultrasound, Plaintiff Welsh was evaluated at the Boise VA by Dr. Mark

Baradziej who recommended a laparoscopic cholecystectomy.

22.     On March 10, 2016, Plaintiff Welsh met with Dr. Baradziej again. At this point,

Plaintiff Welsh had chronic and worsening abdominal pain for the past couple months. The

pain was worse with eating and he had lost about twenty pounds. He was treated for H.

Pylori, but his symptoms did not improve. His white blood cell count was elevated at

14,000. A CT scan showed a normal appearing gallbladder, no evidence of stones, no

pericholecystic fluid, and no gallbladder wall thickening. An ultrasound showed sludge

without cholecystitis. An endoscopy showed no signs of enteritis.

23.     Dr. Baradziej diagnosed Plaintiff with a “smoldering low-grade cholecystitis,”

because he had no other explanation for the pain and elevated WBC count.

24.     Dr. Baradziej recommended a cholecystectomy even though he acknowledged “not

all of his signs and symptoms are consistent with this diagnosis, so it may not cure him.”

25.     Dr. Baradziej performed a cholecystectomy and removed Mr. Welsh’s gallbladder

on March 11, 2016.

26.     Given Plaintiff’s clinical presentation and diagnostic studies, performing a

cholecystectomy was a breach of the applicable standard of healthcare practice.

27.     Dr. Baradziej’s failure to consider an occlusion or thrombosis in his differential

diagnosis was a breach of the applicable standard of healthcare practice.

28.     The cholecystectomy did not resolve Plaintiff Welsh’s abdominal pain.



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29.     Instead, on March 16, 2016, Plaintiff Welsh’s abdominal pain was out of control

and he was vomiting. His abdomen was distended and he had diarrhea.

30.     Another CT of Plaintiff’s abdomen was performed on March 16, 2016, and read by

Zareena Hussain, M.D., also at the VHA National Teleradiology Program in Menlo Park,

CA. Dr. Hussain diagnosed Plaintiff Welsh as having a proximal superior mesenteric artery

occlusion and a chronic inferior mesenteric artery occlusion, which Dr. Hussain found were

also visible on the March 4, 2016, CT scan.

31.     Based upon Dr. Hussain’s findings, Plaintiff Welsh was given a CT scan of the

angio mesenteric arteries on March 17, 2016. This CT was read by Barry Robert, M.D. Dr.

Robert also found an occlusion in the proximal superior mesenteric artery which was

visible on the March 4, 2016, CT scan. The inferior mesenteric artery was not visible. Dr.

Robert further found that Plaintiff’s bowels were ischemic in the ileum area.

32.     Dr. Baradziej reviewed the CT scans with Dr. Masser and Dr. Cassos at St. Luke’s

in Boise (“St. Luke’s Boise”) on March 17, 2016. They compared the recent CT scans with

the March 4, 2016, scan and concluded the thrombosis and occlusion were not acute

because they were present in early March.

33.     Due to the delay in diagnosing the occlusion, intravascular thrombectomy was no

longer an option. Instead, urgent transfer to St. Luke’s Boise was required for an open

thrombectomy.

34.     Upon arrival at St. Luke’s Boise, the doctors reviewed the prior imaging again and

concluded that “it appears the SMA was occluded on a study from 03/04/2016.”

35.     On March 17, 2016, Plaintiff Welsh underwent emergency vascular surgery at St.

Luke’s Boise to repair the occluded SMA and removal of ischemic bowel sections.




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36.     Between March 17 and April 1, 2016, Plaintiff Welsh underwent five surgeries and

is now left with only 85cm of small bowels, resulting in short gut syndrome.

37.     On April 1, 2016, Plaintiff Welsh was transferred from St. Luke’s Boise to the

University of Utah for specialty expertise in his complex care. He was discharged from

University of Utah on May 2, 2016, and transferred back to the Boise VA Medical Center

where they worked on transitioning him to a more regular diet even though he continued

to need daily total parenteral nutrition intravenously. After a month, he was sent to a long-

term care hospital for 3-4 weeks for physical rehabilitation and wound healing. He was not

able to return home to McCall until August 2016.

38.     Plaintiff Welsh is still on a very restricted diet. He has chronic diarrhea. He has lost

considerable muscle mass and strength. He can no longer operate his business installing

and refinishing hardwood floors. He can no longer enjoy an active lifestyle including, but

not limited to, hiking, hunting, and camping. Plaintiff Welsh will never again have a normal

life or be free of pain and suffering.

                                          COUNT I

                     (Medical Negligence – Boise VA Medical Center)

39.     Plaintiff Welsh reasserts the allegations contained in the previous paragraphs as if

set forth in full herein.

40.     The Boise VA Medical Center and its physicians violated the applicable standards

of care and were thereby negligent and reckless. The providers violated the applicable

standards of care resulting in a delayed diagnosis of a mesenteric arterial occlusion,

ischemic bowels and the removal of 85cm of the Plaintiff’s small intestines, and the

unnecessary removal of the patient’s gallbladder. Without limitation, the providers failed

to timely conduct proper testing, failed to properly assess and monitor the patient, failed to



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properly read and interpret the CT imaging, failed to conduct a proper diagnosis, failed to

timely perform the appropriate surgical intervention, and performed a contra-indicated

surgical procedure.

41.     The Boise VA Medical Center, through its employees, and itself as an institution,

failed to have proper policies and procedures in place, failed to properly train and supervise

its employees, and failed to properly staff the patient’s case, which conduct is also a

violation of the applicable standards of care, is negligent, and is reckless.

42.     The medical negligence and reckless misconduct on the part of the Boise VA

Medical Center and its employees in failing to meet the applicable standards of healthcare

practice was a direct and proximate cause of, and a substantial factor in causing, injury and

damages suffered by Plaintiff Welsh, including, without limitation, removal of his

gallbladder and 85cm of his small intestines.

43.     As a result of the Boise VA Medical Center’s negligence and recklessness, Plaintiff

Welsh is now an invalid. He suffers ongoing pain and depression. His activities of daily

living are compromised and impaired. He has incurred, and will incur, substantial medical

bills, therapy bills, home care expenses, and other expenses incurred incident to care and

treatment, as well as pain, suffering, permanent disfigurement, mental anguish, and loss of

enjoyment of life, past, present, and future.

44.     As such, Plaintiff Welsh is entitled to an award of money damages for all allowable

general and special damages, in an amount to be proven at trial.

                            DEMAND FOR ATTORNEY FEES

45.     Plaintiff Welsh reasserts the allegations contained in the previous paragraphs as if

set forth in full herein.




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46.     As a direct and proximate result of Defendant’s negligence and/or recklessness,

Plaintiff Welsh has been required to retain the services of Skaug Law, P.C. to represent his

interests in this action, and is entitled to reasonable attorney fees and costs pursuant to I.C.

§12-121 and Rule 54 of the Federal Rules of Civil Procedure.

                                  PRAYER FOR RELIEF

        WHEREFORE, the Plaintiff, Thomas E. Welsh, prays for judgment against the

Defendants as follows:

1.      For a monetary sum to compensate him for all allowable general damages,

including, but not limited to, past, present and future physical and mental pain and

suffering, anguish, emotional distress, permanent disfigurement and impairment, and loss

of enjoyment of life, all in an amount to be proven at trial;

2.      For a monetary sum to compensate him for his special damages consisting of, but

not limited to, all past, present, and future medical and related expenses, physical therapy

expenses, rehabilitation expenses, travel expenses, and all other life care and incidental

expenses, in an amount unknown to Plaintiff at this time but which sum shall be more

readily ascertained at the trial of this matter;

3.      For prejudgment interest;

4.      For Plaintiff’s reasonable attorney fees and costs incurred in the prosecution of this

action, or $10,000 should this matter proceed by default; and

5.      For such other and further relief as this Court deems reasonable and just.

                              DEMAND FOR JURY TRIAL

        Although Plaintiff recognizes that this is an F.T.C.A. case, out of an abundance of

caution, pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby

demands a trial by jury of all issues so triable, if any.



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        Dated this 15th day of February 2019.



                                        SKAUG LAW OFFICES, P.C.
                                        Attorney for Plaintiff



                                        /S/ Randall Schmitz______________
                                        Randall Schmitz




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